              Case 23-10831-MFW             Doc 1064-1         Filed 03/05/24        Page 1 of 2




                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF DELAWARE

                                                            Chapter 11
In re:
                                                            Case No. 23-10831 (MFW)
                                    1
Lordstown Motors Corp., et al.,
                                                            (Jointly Administered)
                         Debtors.
                                                            Objection Deadline:
                                                            March 25, 2024, at 4:00 p.m. (ET)

            NOTICE OF FILING OF SIXTH MONTHLY STAFFING AND
        COMPENSATION REPORT OF HURON CONSULTING SERVICES LLC
      FOR THE PERIOD FROM JANUARY 1, 2024 THROUGH JANUARY 31, 20242

       PLEASE TAKE NOTICE that, on August 7, 2023, the Official Committee of Unsecured
Creditors of Lordstown Motors Corp. and its affiliated debtors and debtors in possession (each, a
“Debtor” and collectively, the “Debtors”) filed the Application of Official Committee of Unsecured
Creditors for Order Authorizing the Employment and Retention of Huron Consulting Group LLC
as Financial Advisor to the Official Committee of Unsecured Creditors, Effective as of the
Retention Date [Docket No. 235] with the United States Bankruptcy Court for the District of
Delaware (the “Court”).

       PLEASE TAKE FURTHER NOTICE that, on August 23, 2023, the Court entered the
Order Authorizing the Employment and Retention of Huron Consulting Group LLC as Financial
Advisor to the Official Committee of Unsecured Creditors, Effective as of the Retention Date
[Docket No. 295] (the “Retention Order”).

       PLEASE TAKE FURTHER NOTICE that, in accordance with the Retention Order,
Huron Consulting Group LLC hereby files its sixth monthly staffing and compensation report on
the engagement for the period from January 1, 2024, through January 31, 2024 (the “Monthly
Report”), in the form attached to the Monthly Report as Exhibit 1.

       PLEASE TAKE FURTHER NOTICE that, in accordance with the Retention
Order, objections, if any, to the Monthly Report must be filed with the Court on or before
March 25, 2024, at 4:00 p.m. (ET).




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    The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
    Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
    address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
2
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Order
    Establishing Procedures for Interim Compensation and Reimbursement of Expenses for Chapter 11 Professionals
    and Committee Members [Docket No. 181].



169403691v2
              Case 23-10831-MFW   Doc 1064-1    Filed 03/05/24     Page 2 of 2




Dated: March 5, 2024
Wilmington, Delaware                   TROUTMAN PEPPER HAMILTON SANDERS LLP

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                                       Creditors




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169403691v2
